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            Exhibit 
  Page                                    of
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                                                                         Pages                                     -,u~'o';ftl~~l~rb'N"infE't' -1 PEORIA
                                                                                                                   1:23-cv-01184-CRL-JEH
                                                                                                                                  or     # 318-28
                                                                                                                                                          POLICE DEPARTMENT
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                                                                                                                                                                DATE        THIS REflOHT                                       CL.A$SIF"ICA HON             INCtCll;flll C:OOE CH.0..NCi[                              flEL. CASE NO."S
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                                                                                   COOP.ER                    Connie:L.                                                                                                                           i ....
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                                                                                   ROBIS,PN;;--~James.W. i·:;                                                     ... ,
                                                                                   •             •   ~•       •:   • "'.,   J        T     •
                                                                                                                                                                                     i.                                                                                                                                     REDACTED
                                                                                   PARKER, Kenne_th                                            I   I
                                                                                                                                                                                                                                                            ~v:...._victlrri                                   O--Ott1er (Narr.)
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  SEC. B ~-· -:._ t<._-...~ad_Beforll!!_ Rlepo_;i-1 + ....          o-."!0· 1ndi~a}~On ~f tinju!~;.                 A-ereeci..ing:. Carried from Sce"!e •                      B-ViSSIJle l,njury •    .:f:-No, Visible •l.n~ury, Momentary l:Jnconsfi0~$• Comp1~\n of P,iUn.

  sec_c,          s-Sobe-,                0-8een Orinkin,g                   l-lnto11:.icated/Under Influence..
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                                                                                                                                                          (Ofi!5Cti:De in N.arr.),
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 SEC.O,          M-Male             F-Femule                    X-Unknown I W-Whitc                                                  M-Mex ican         J-Japanc<e 't-1 mlim1




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       .CONTINUAT:ION · . □                                                 NARRATIVE:                                                      .::. . : ·: :.· •i f .

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            SHEET ON~Y.                                         .· ,-,                                                                    10 O. hours· 1-21-                                                                                                                                                   t_._   -••
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                                                                                                                                                  f .: . - • .:,. .... _•.. • 1t ;,:_i·.                • ..,-·j ..•   , ...        • ,•          .:f :1: •           ""I~      . ,I         .. ,    ;:·     ~,.      :. . . .
                                                Res onded to 1 01 S. L dia to talk with Kenneth Parker.babout a conversation he had
   with .the· deceased, Conni.e.
                         - • C90per,  • on        1 ._ .... :l-:TZ-77-i
                                           • ·-MondaY.,       -~ ,._        Mr
                                                                            .. •......
                                                                                    Parker .told     me that· he .would like to. go down to- the house-.where. -
                                                                                           ..., .. ~~---~                                                                                                                                         ~-··-1 ■\ ■    ..    t ....     ~-~               .t     ........              --   ....     J         ••     .•:         ·.•ftJ,                     ......

   the sla in s :took' lace .to tel 1,•me, hi-s stor • At thiis' time I drove· Mr-. Parker down,.. to . O ,.W. Garden. While waitin for .. ·
   Mr;, .wn,Ham .Douglas to. br.ing a·;key_ dowr_, -t.o .~dm.i_t_-, u~_Jn:t.o tf;le _h~M~e~ J, h~d t!"!e .f_9.J.1ow,i~g ,C!)_!l_ver__s~;ion :Y-'.i~t~      P~~r._l{e/·· :..: '.' __ - :;                                                                                                                                                       ~r-..
               r · ·, -~ r ; r.. , .:_ ": .- . ·                                                                                                            , ... .                         r . _ ..            .                                                                                                                     . . • _ ••                      •
   Mr. Parker told me that just about every night of the week arouna midnight Connie would call him at his ·residence -after'hi's
              .w · > o,wo· k · e ·stated that -Monda 1-1 - . about .. midni ht .Connie called him.~ He stated that- she .was, talkin
   about,.soap :oper.as .to'· him w~i'ch .was::.v.eryi'·unusual :he _dq~s n~t li-!<.e; ~~aP.. OP~ras ..., ri:h~"!. :s.he_ ~~ga'1.~ -~,i sc~s-sfo_n·:~bout ._h~<. ~e1i,~g;'
               ·            a      . · i · o · a that- she1 had,,been ra ed· or· was in. fear of b"ein ra ed. .He stated. -that .her. conversati
   seemed kind of weird to h,im because all she kept emphasizing to him was what'would he do if she was,·- iii. facf; -raped··.~;_,;_·;
         ·                                     at if she was a ed at some time that he would robabl                           o nuts if he found the erson
   that did ;t. He further stated that she said that if she was raped she would run away from home and leave town. He asked
                                          e aid sh wou d be too embarrassed. At this time he told her he would like to terminate
                                           because it did not make any sense to him. Shortly after this they hung up and he was to
                                           that bein Tuesda.

                                                                                          Connie Coo er for about the ast six or seven months. He stated that he usuall
                                                                                                 He stated that he would go over to Connie's house on his bicycle. When he
t-"~~~~:'---'"'-'r'~~I.CJU-.LIJLU.l-l.4i;.__.J.ll,ll,l;::.C._l,j'-:f-..v.J.Wll.l.5...J,llw.,-.o:l!II.Nt\l.o,'u.t"t..,t.'?!~~~~bt.,i"~P'.e!-S"--I.J.l._,;"::h~...!L~~~-1"LJ,,:.J;t;Lh~e,.__fw.,~~~~!.!'t<. . !b,;:e!,:e,.u~~.~rv,:.<:>so=om'=!:!:A,:=:,.:!::~!,!~~:~t<....!w:?.:a=s.....!-n,..,o""t"---'
                                                                                                                                                                                                                                             ".                                                        b=e,i,..n°',.o. . .:::;NO;-.---l

                                                                                        SaGNATUFIE                                                                                                                                                                                                                                            E,HENSION


                                                                                                                                                                                                                                                                                                                                             UTIUTY SHEET



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 Page                   2               of ____ ;: 2.. .                              Pages NARRATIVE:                                                                                                                                                                                                                                                  r1c1..u ...VIYIIVIUI"' ... ""' IUNa>        1 nn.:,.
                                                                                        1:23-cv-01184-CRL-JEH # 318-28 Filed: 04/22/24 Page 3 of 3
h==-,=-:::=-=-=-=--:=-==-=-=-=-==-==-=-=-='==-==-="="=-r------------------------------------1--                                                                                                                                                                                    □ Flash'.Message       I
:-ATTACH PROPERTY TAG HERE                                                                1                                                                                                                                                                                    _ _ D LEADS/NCIC Inquiry
t+-------------------'-------------------''""----..;..,__:.•·._·_-_1·_._•~_f____.'_j_f_•_ _ _ _---1 _ _ 0 LEADS/NClc'i/.ntr~ . : ,..:- - - 1
                                                                                                                                                                                                                                                                                   0 License Inquiry
h-,............,,__....1..1.u...,;,____J::aa.,..____,illL->U~~i.i....lW,tJ.u.._,1.L..JU;,,t-'--=!.i-.,lo.L.Ll.i......J!Ll.:"'4-!,,,,...1.c!i.i_.t..U.i...Li..._:_gulr,L_D.U-....l.l'"'-.ll§l..oL.J..Ul§..L.S....._J..H.;,:::,_,;il.JJill;.I.S.,l,,l:,_..J..1.JISl:lo.:!......j _ _ D Inter-Dept. Requests
                                                    go in to                                                                                                      Conni e                                                                                  Conni e                                                                                                  □ Other Communication
                                                                                                                    0 Cancellation Made
 I that Scopie ~ould never come in.. th~ bedroom when Connie had ~he door. closed.      He stated ·that if Scopie needed something he
 1 wo  d k ock on the door and Comii 1 ·•would sa  11 Just a mfoute" .at wh'i ch time he would  et--out of: bed· and hide in Connie's
   closet and Connie would get parti~lly dressed and answer the door. After Scopie would find out what he wanted to know he
    o     e     h bed oom she woul~ a ain close the door he'd come out of the closet             et back in bed and the 1 d o about
   their lovemaking. Mr. Parker in-Fprmed this officer that Scppie was a very hard sleepe~

 I                                                                                                                           I
 I                                                                                                                           I
: At approximate 1y 1145 hours this 1date Wi 11 i am Oougl as arri-ved at the house with the key.

 1    At this time Mr. Parker and mysel1f entered the house while Mr. Douglas wahed outside in the mobile van which the TAC
 1-                                                                                                                                                                                     k       a            m                           LJLL..!o!!ll.--"-'oo=m"-!-J<co,.,_~!IW.!..L!....Ji.UJ,,,.-U!ot.!1!.~-"'-U!,!.-'-'-"'-....._.J..!ii._                                            _..o,.,__ _ ___,
    point out things to me that he thought were strange or out of place. I reminded him that several things had been moved
                              •                                                                       The on 1y t ·                                                                                                                                                         · k
    that was found lying on the floor the day of the sl-ayings belonged to h,im. He stated that he did not know how it got there
i--'........~............_...L&.l__,LUil.l.._.u.>l'......__,ia..,....._lfLL..,_..._thu.e~nili.ght stick t_o_the_house and that ·scopfe: mi~··µ..                    !'.l,l,.·.Lot..l.'-"'.I_..L../.:....J.,.....,___...Jo.l,uu.ilL.....IJ.Uii....LUL}#L,..._...oLl<-.l.l,<.D....Ll...lo!U~---i
                                                                                                                                                                                                                                                             u·..:.·-~-


    his house at ~09 Apple at some time and brought it down there.
               ' , - t , ...      '":•i: ♦-2•i-••.-•,,•.:•
                                 1+_                                 :~••-~•_::_,:,:->,·:."! d: 1:1.(•, ,,._ :• • r ·:• c::;· ~•• •-:-'           r: _,~~ ( ~~ •.- \ ..._..; •.                                                  g



   Nr.-i.P.arker~·:_then :~_tated''that. s·copi-e;• ~.;sr'.very-':st"""roiig :for hrs ·agei and··would, defi·n~itely -put •UP a·, good' st"r,uggle; wi'th .someone :i.fr.
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    karate people. ·"i-te :st'ated· 'tha't··scopie-·di·a·know ·hciw ·to; use:·t:hose ·arid •if-he rwou'.1 d'have ,had• a:-chance·, :to· use ·thennhe :cou.la! have· .
                                                                                                 _so sta_ted _tba~ ,the_ dog, Trou~l e Man..-:woul d bite s                                                                                                  • ·                ·
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    Parker.                      1:      c:~:
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